          Case: 4:23-mj-09116-RHH                  Doc. #: 1
Shawn AO 106 (Rev. 06/09) Application for a Search Warrant        Filed: 06/28/23          Page: 1 of 22 PageID #: 1

                             UNrrpo SrarES Drsrrucr CoURT
                                                               for the
                                                   Eastern District of Missouri

               In the Matter of the Search of                              )
Information associated with Instagram profile with                         )
username 9.r.9.c that is stored at premises owned,                         )        Case No. 4:23 MJ 9116 (RHH)
maintained, controlled, or operated by Instagram,LLC, a                    )
company that is owned by Meta Platforms, Inc., and                         ) SUBMITTED TO THE COURT AND
headquartered in Menlo Park, California.                                   )SIGNED BY RELIABLE ELECTRONIC MEANS
                                                                           )

                                APPLICATION FOR A SEARCH WARRANT
    I, CHRIS DUKE         a federal law enforcement officer or an attorney for the government request
a search warrant and state under penalty of perjury that I have reason to believe that on the following property:

                                                     SEE ATTACHMENT A

located in   the        NORTHERN District of                 CALIFORNIA , there is now concealed
                                                     SEE ATTACHMENT B

         The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                    /
                   evidence of a crime;
                    /
                    contraband, fruits of crime, or other items illegally possessed;
                    {
                   property designed for use, intended for use, or used in committing a crime;
                E a person to be arrested or a person who is unlawfully restrained.
         The search is related to a violation of:

                Section
             Code                                                                Offense Description

    Title?l, U.S.C., S 959(a)                                  Conspiracy to distribute cocaine having reasonable cause to
                                                               believe the cocaine will be imported into the U.S.
         The application is based on these facts:

                SEE ATTACHED AFFIDAVIT WHICH IS INCORPORATED HEREIN BY REFERENCE

               / Continued on the attached sheet.
               O Delayed notice of _      days (give exact ending date if more than 30 days                            is requested
                    under 18 U.S.C. $ 3103a, the basis of which is set forth on the attached sheet.
                                    I state under the penalty ofperj           that the              is true and correct.

                                                                         CHRIS DUKE, Special Agent
                                                                         Druq Enforcement Admin
                                                                                          Printed name and title
Sworn to, attested to, and aflirmed before me via
reliable electronic means pursuant to Federal Rules of
Criminal Procedure 4.1 and 41.

Date          June28"2023
                                                                                          Judge's   signature      o



City and State:         St. Louis. MO                                    Rodney H. Holmes, U.S. Masistrate Judee
                                                                                          Printed name and title
                                                                         AUSA: JAMES C. DELWORTH
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                                       ATTACHMENT A

                                   Property to Be Searched

        This warrant applies to information associated with the lnstagram profile with username:

                                                  9.r.9.c

that is stored at premises owned, maintained, controlled, or operated by lnstagram, LLC, a

company that is owned by Meta Platforms, Inc. and headquartered in Menlo Park, California.

                                   10:59                                         rt SGEO'




                                 (&                    ,lL. ,i,ilfi",Jrli,l,
                                 Ruben Carbone.
                                 La Panlera Carbone
                                 @panteracarscol
   :&
   E
                                                       Follow


                                            ffi                            -
                                                                           rXJ




                     !


                                          This account is private
                                         Follovr this account to see their photos
                                                       and videos.




                                   4q@6@
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                                       ATTACHMENT B

                                  Particular Things to be Seized

I.     Information to be disclosed by Instagram,LLClMeta Platforms Inc.

       To the extent that the information described in Attachment A is within the possession,

custody, or control of Instagrart, LLC, including any messages, records, files, logs, or

information that have been deleted but are still available to Instagram, LLC, or have been

preserved pursuant to a request made under 18 U.S.C. g 2703(f),Instagram, LLC is required to

disclose the following information, from 0110112023 to 0612812023, to the government for each

account listed in Attachment A:

       a.     All identity and contact information, including fulIname, e-mail address, physical
              address (including city, state, and zip code), date of birth, phone numbers, gender,
              hometown, occupation, and other personal identifiers;

       b.     All past and current usernames associated with the account;
       c      The dates and times at which the account and profile were created, and the
              Internet Protocol ("IP") address at the time of sign-up;

       d.     All activity logs including IP logs and other documents showing the IP address,
              date, and time of each login to the account, as well as any other log file
              information;

       e      A11 information regarding the particular device or devices used to login to or
              access the account, including all device identifier information or cookie
              information, including all information about the particular device or devices used
              to access the account and the date and time of those accesses;

       f.     All data and information associated with the profile page, including photographs,
              'obios," and profile backgrounds and themes;

       o
       b'     All communications or other messages sent or received by the account;
       h.     All user content created, uploaded, or shared by the account, including any
              comments made by the account on photographs or other;

       l.     All photographs and images in the user gallery for the account;
       j      A11 location data associated with the account, including geotags;

       k.     All data and information that has been deleted by the user;
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               A list of all of the people that the user follows on Instagram and all people who
               are following the user (1.e., the user's "following" list and "followers" list), as
               well as any friends of the user;

       m.      A list of all users that the account has "unfollowed" or blocked;
       n.      All privacy and account settings;
       o.      All records of searches performed by the account, including all past searches
               saved by the account;

       p.      All information about connections between the account and third-party websites
               and applications; and,

       q.      All records pertaining to communications between Instagram, LLC and any
               person regarding the user or the user's Instagram account, including contacts with
               support services, and all records of actions taken, including suspensions of the
               account.

       Instagram,,LLC is hereby ordered to disclose the above information to the United

States within 14 days of the date of this warrant.

II.    Information to be seized by the government

       All information described above in Section I that constitutes fruits, evidence and
instrumentalities of violations of Title 21, United States Code, Sections 959(a), 960 and 963

and Title 46 United Stats code, Sections 70503(a) and 70506(b) involving Ruben Dario

CARBONE-PalIares from 01/0112023 to 0612212023, including, for each username identified

on Attachment A, information pertaining to the following matters:

            (a) Evidence regarding the procurement, storage and/or ultimate shipment of

               controlled substances including cocaine from Colombia through the use of GFVs

               to either the United States or through Central America and/or the money utilized

               for obtaining the controlled substance including cocaine and/or proceeds from the

               di stribution of controlled substances including cocaine ;


            (b) Evidence indicating how and when the lnstagram account was accessed or used,

               to determine the chronological and geographic context of account access, use, and
                                                   2
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           events relating to the crime under investigation and to the lnstagram account

           owner;

        (c) Evidence indicating the Instagram account owner's state of mind as it relates to

           the crime under investigation;

       (d) The identity of the person(s) who created or used the user ID, including records

           that help reveal the whereabouts of such person(s).

       (e) The identity of the person(s) who communicated with the user ID about matters

           relating to violations of Title 21, United States Code, Sections 959(a), 960 and

           963 ard TitIe 46, United States Code, Sections 70503 and 70506, including

           records that help reveal their whereabouts.




                                             J
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                            LINITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI

IN THE MATTER OF THE SEARCH OF                    )
INFORMATION ASSOCIATED WITH                       )    No. 4:23 MJ 9116 (RHH)
9.r.9.c THAT IS STORED AT PREMISES                )
CONTROLLED BY META PLATFORMS,                     )
INC.                                              )    FILED LINDER SEAL
                                                  )

                            AFFIDAVIT IN SUPPORT OT
                     AN APPLICATION FOR A SEARCH WARRANT

       I, Chris Duke, a Special Agent with the Drug Enforcement Administration, being first

duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.     I make this affidavit in support of an application for a search warrant pursuant to

l8 U.S.C. $$ 2703(a),2703(b)(l)(A) and 2703(c)(1)(A) and Federal Criminal Procedure 41 for

information associated with Instagram username 9.r.9.c (the "subject account") that is stored at

premises owned, maintained, controlled, or operated by Instagram a social-networking company

owned by Meta Platforms, Inc. and headquartered in San Francisco, California. The information

to be searched is described in the following paragraphs and in Attachment A. The requested

warrant would require Instagram to disclose to the United States records and other information in

its possession, including the contents of communications, pertaining to the subscriber or

customer associated with the subject account as further described in Attachment B.

       2.     I, Chris Duke, am a Special Agent with the Drug Enforcement Administration
(DEA), duly appointed according to law and acting as such. I have been employed as a Special

Agent since 2020 for the DEA. For the past two years, I have gained experience and undergone

training in the investigation of narcotics trafficking organizations. During the course of my law

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enforcement experience, specifically DEA, which specializes in narcotics investigations, I have

participated in several complex domestic investigations involving drug trafficking organizations

dealing in cocaine, methamphetamine, heroin, marijuana, and other controlled substances. Prior

to my employment with the DEA, I was a police officer with the St. Charles Police Department

for ten (10) years. Based on my training, experience, and participation in controlled substance

investigations, I am familiar with the methods of operation of drug traffickers. I am familiar with

and have used normal methods of investigation, including, but not limited to, visual surveillance,

questioning of witnesses, the use of search and arrest warrants, the use of informants, the

utilization of undercover agents and the use of court-authorized wire intercepts. I am also

familiar with federal criminal laws, particularly those laws relating to narcotics. I am part of an

experienced team of narcotics investigators that have participated in numerous drug trafficking

investigations utilizing various investigative techniques. The facts in this affrdavit come from my

personal observationS, ffiy training and experience, and information obtained from other agents

and witnesses. This affidavit is intended to show merely that there is sufficient probable cause

for the requested warrant and does not set forth all of my knowledge about this matter.

       3.      Based on my training and experience and the facts as set forth in this affidavit,

there is probable cause to believe that violations of Title 21, United States Code, Sections

959(a), 960, and 963, and Title 46, United States Code, Sections 70503(a)(1) and 70506(b)

have been commiffed by Ruben Dario CARBONE-Pallares. There is also probable cause to

search the information described in Attachment A for evidence of these crimes and contraband or

fruits of these crimes, as described in Attachment B.

                                   LOCATION TO BE SEARCHED

       4.      The location to be searched is:

                                                 2
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        Instagram username 9.r.9.c (hereinafter referred to as "Subject Account(s)") located at an

unknown address in Barranquilla, Colombia, further described in Attachment A. The items to be

reviewed and seized by the United States are described in Attachment Part II of Attachment B.

                                          JURISDICTION

        5.      This Court has jurisdiction to issue the requested warrant because it is "a court of

competent jurisdiction" as defined by 18 U.S.C. S 2711. 18 U.S.C. $$ 2703(a), (bX1XA), &

(c)(1)(A). Specifically, the Court is "a district court of the United States . . . that has jurisdiction

over the offense being investigated." l8 U.S.C. $ 2711(3XAXi).

                        BACKGROUND RELATING TO INSTAGRAM

        6.      The Internet is in part a computer communications network using interstate and

foreign telephone and communication lines to transmit data streams, including data streams used

to provide a means of communication from one computer to another and used to store, transfer

and receive data and image files.

        7.      An 'ilnternet Protocol" (IP) address is a unique series of numbers, separated by a

period, that identifies each computer using, or connected to, the Internet over a network. An IP

address permits a computer (or other digital device) to communicate with other devices via the

Internet. The IP addresses aids in identifuing the location of digital devices that are connected to

the Internet so that they can be differentiated from other devices. As a mailing address allows a

sender to mail a letter, a remote computer uses an IP address to communicate with other

computers.

        8.      An "Internet Service Provider" (lSP) is an entity that provides access to the

Internet to its subscribers.



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       9.      The term "remote computing service" means the provision to the public of

computer storage or processing services by means of an electronic communications system.

       10.     Instagram, LLC is a business and company that operates as a remote computing

service, a provider of electronic communications services through ISPs.

       11.     From my review of publicly available information provided by Instagram about

its service, including Instagram's "Privacy Policy," I am aware of the following about Instagram

and about the information collected and retained by Instagram.

       12.     Instagram owns and operates a free-access social-networking website of the same

name that can be accessed at http://www.instagram.com. Instagram allows its users to create

their own profile pages, which can include a short biography, a photo of themselves, and other

information. Users can access Instagram through the Instagram website or by using a special

electronic application ("app") created by the company that allows users to access the service

through a mobile device.

       13.     Instagram permits users to post photos to their profiles on Instagram and

otherwise share photos with others on Instagram, as well as certain other social-media services,

including Flickr, Facebook, and Twitter. When posting or sharing a photo on Instagram, a user

can add to the photo: a caption; various "tags" that can be used to search for the photo (e.g., a

user made add the tag #vw so that people interested in Volkswagen vehicles can search for and

find the photo); location information; and other information. A user can also apply a variety of

"filters" or other visual effects that modi8/ the look of the posted photos. In addition, Instagram

allows users to make comments on posted photos, including photos that the user posts or photos

posted by other users of Instagram. Users can also "like" photos.




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        14.      Upon creating an Instagram account, an Instagram user must create a unique

lnstagram username and an account password. This information is collected and maintained by

Instagram.

        15.     Instagram asks users to provide basic identity and contact information upon

registration and also allows users to provide additional identity information for their user profile.

This information may include the user's full name, e-mail addresses, and phone numbers, as well

as potentially other personal information provided directly by the user to Instagram. Once an

account is created, users may also adjust various privacy and account settings for the account on

Instagram. Instagram collects and maintains this information.

        16.     Instagram allows users to have "friends," which are other individuals with whom

the user can share information without making the information public. Friends on Instagram

may come from either contact lists maintained by the user, other third-party social media

websites and information, or searches conducted by the user on Instagram profiles. Instagram

collects and maintains this information.

        17.     Instagram also allows users to "follow" another user, which means that they

                                                                          o'unfollow" users, that is,
receive updates about posts made by the other user. Users may also

stop following them or block the, which prevents the blocked user from following that user.

        18.     Instagram allow users to post and share various types of user content, including

photos, videos, captions, comments, and other materials. Instagram collects and maintains user

content that users post to Instagram or share through Instagram.

        19.     Instagram users may send photos and videos to select individuals or groups via

Instagram Direct. Information sent via Instagram Direct does not appear in a user's feed, search

history, or profile.

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       20.     Users on Instagram may also search Instagram for other users or particular types

ofphotos or other content.

       21.     For each user, Instagram also collects and retains information, called "log file"

information, every time a user requests access to Instagram, whether through a web page or

through an app. Among the log file information that Instagram's servers automatically record is

the particular web requests, any Internet Protocol ("IP) address associated with the request, type

of browser used, any referring/exit web pages and associated URLs, pages viewed, dates and

times of access, and other information.

       22.     Instagram also collects and maintains "cookies," which are small text files

containing a string of numbers that are placed on a user's computer or mobile device and that

allows Instagram to collect information about how a user uses Instagram. For example,

Instagram uses cookies to help users navigate between pages efficiently, to remember

preferences, and to ensure advertisements are relevant to a user's interests.

       23.     Instagram also collects information on the particular devices used to access

Instagram. In particular, Instagram may record "device identifiers," which includes data files

and other information that may identifr the particular electronic device that was used to access

lnstagram.

       24.     Instagram also collects other data associated with user content. For example,

Instagram collects any "hashtags" associated with user content (i.e., keywords used), "geotags"

that mark the location of a photo and which may include latitude and longitude information,

comments on photos, and other information.

        25.    Instagram also may communicate with the user, by email or otherwise. Instagram

collects and maintains copies of communications between Instagram and the user.

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       26.    As explained herein, information stored in connection with an Instagram account

may provide crucial evidence of the "who, what, why, when, where, and how" of the criminal

conduct under investigation, thus enabling the United States to establish and prove each element

or alternatively, to exclude the innocent from fuither suspicion. In my training and experience,

an Instagram useros account activity, IP log, stored electronic communications, and other data

retained by Instagram, can indicate who has used or controlled the Instagram account. This

"user attribution" evidence is analogous to the search for "indicia of occupancy" while executing

a search warrant at a residence. For example, profile contact information, direct messaging logs,

shared photos and videos, and captions (and the data associated with the foregoing, such as geo-

location, date and time) may be evidence of who used or controlled the Instagram account at a

relevant time. Further, Instagram account activity can show how and when the account was

accessed or used. For example, as described herein, Instagram logs the Internet Protocol (lP)

addresses from which users access their accounts along with the time and date. By determining

the physical location associated with the logged IP addresses, investigators can understand the

chronological and geographic context of the account access and use relating to the crime under

investigation. Such information allows investigators to understand the geographic and

chronological context of Instagram access, use, and events relating to the crime under

investigation. Additionally, Instagram builds geo-location into some of its services. Geo-
                                                                                     o'friends" to
location allows, for example, users to "tag" their location in posts and Instagram

locate each other. This geographic and timeline information may tend to either inculpate or

exculpate the Instagram account owner. Last, Instagram account activity may provide relevant

insight into the Instagram account owner's state of mind as it relates to the offense under

investigation. For example, information on the Instagram account may indicate the owner's
                                                7
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motive and intent to commit a crime (e.g., information indicating a plan to commit a crime), or

consciousness of guilt (e.g., deleting account information in an effort to conceal evidence from

law enforcement).

        27.     Based on the information above, the computers of Instagram are likely to contain

all the material described above with respect to the SUBJECT ACCOLINT, including stored

electronic communications and information concerning subscribers and their use of Instagram,

such as account access information, which would include information such as the IP addresses

and devices used to access the account, as well as other account information that might be used

to identiff the actual user or users of the account at particular times.

                                       PROBABLE CAUSE

        28.     DEA, in conjunction with Colombian authorities, have been involved in the

investigation of an organization that is transporting large quantities of cocaine from the area of

the Gulf of Uraba in Colombia by way of go-fast-vessels (GFV) to locations in Central America.

This area is controlled by Clan De Golfo transnational criminal organization. Based upon the

quantity, the route, and other factors, the cocaine is ultimately destined for the United States.

The investigations have resulted in a number of seizures including 1,256 kilograms of cocaine on

June 17, 2021, and 195 kilograms of cocaine on November 8, 2021. The GFVs are vessels

without nationality thus allowing prosecution in any district within the United States. Title 46,

Section 70502( c)(1).

        29.     The seizures and investigation have resulted in an indictment and subsequent

superseding indictment in the Eastern District of Missouri charging three subjects with

conspiracy unlawfully distribute more than 5 kilograms of cocaine having reasonable cause to

believe such cocaine would be unlawfully imported into the United States in violation of Title

                                                   8
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21, United States Code, Section 959,960 and 963 and possession with intent to distribute more

than 5 kilograms of cocaine aboard a vessel subject to the jurisdiction of the United States in

violation of Title 46, United States Code, Sections 70503(a)(1) and 70506(b). S1-4:21CR00717

MTS. The investigation of the drug trafficking organization is ongoing.

       30.     On April 25, 2023, Cartagena Resident Office (CRO) Group l, Grupo de

Inteligencia Naval (GRUIN-3) and Cuerpo Tecnico de Investigaciones (CTI) developed

information regarding the pending departure of a GFV (go-fast vessel) from the area of the Gulf

of Uraba, Colombia. CRO Group t had previously received information regarding pending GFV

departures from Zapata (Antioquia), in the Gulf of Uraba area in Colombia. Units from the

Colombian Guardacostas located the vessel, powered by 3 300 HP outboard engines, traveling

100 nautical miles northeast of the Gulf of Morrosquillo, Colombia at coordinates N 09'33,945'


- W 77"05,152. The Guardacostas (Colombian coast guard) were able to conduct a successful
interdiction of the vessel resulting in the seizure of approximately 2,198 kilograms of cocaine, a

36-foollong gray fiberglass boat powered by 3, 300 horsepower Yamaha engines, and the arrest

of 4 Colombian Nationals.

       31.     Additionally, on April 25, 2023, Grupo de Inteligencia Naval (GRUIN-3) and

Cuerpo Tecnico de Investigaciones (CTI) developed information regarding the pending departure

of an additional GFV from the area of the Zapata, Antioquia Colombia, with a destination of

Limon, Honduras. CRO Group t had previously received information regarding pending GFV

departures from the DEA Country Office (CO) in Honduras (Tegucigalpa CO). Units from the

Colombian Guardacostas located the vessel, powered by 4 300 HP outboard engine, traveling 93

                                                                                   '
nautical miles northwest of Gulfo Morrosquillo, Colombia at coordinates N 10 17 864 W 77 17

00. The Guardacostas were able to conduct a successful interdiction of the vessel resulting in the

                                                9
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seizure of approximately l9l 1 kilograms of cocaine and the arrest of 4 Colombian Nationals and

1 Panamian National.


           32. On May 5, 2023, Cartagena Resident Office (CRO) Group l, received
information from a DEA Confidential Sourcel (hereinafter CS) regarding recent GFV seizures

that departed near Turbo, Colombia, believed to be the two seized GFV which departed from

Zapata, Colombia on April 25, 2023. Investigators previously identified Ruben Dario

CARBONE-Pallares (hereinafter CARBONE-Pallares) as a major cocaine trafficker involved in

dispatching GFVs from Turbo and La Guajira, Colombia loaded with multi-hundred-to-thousand

kilogram quantities throughout the Caribbean, utilizing the assistance of comrpt Colombian

Navy officials.

           33.     The CS told investigators he/she communicated with CARBONE-Pallares on

Instagram, via direct messaging, where CARBONE-Pallares told the CS that he (CARBONE-

Pallares) recently lost large GFVs loaded with cocaine that had been dispatched near Turbo,

Colombia2. The CS provided investigators with CARBONE-Pallares's Instagram profile name

"9.r.9.c"3 and the following communication with CARBONE-Pallares through Instagram, that

consisted of text messages and audio messages from April 25,20234:




' The Confidential Source (CS) is a documented DEA source. The CS has no known criminal history and is
cooperating for monetary compensation. The CS's information has been shown to be reliable in this investigation
and the information provided by the CS pertaining to this investigation has been corroborated. No information has
been derived by the DEA that would indicate the CS is providing false information in any manner.

2
    Investigators believe CARBONE-Pallares is referring to the above detailed GFV seizures from April 25, 2023.

3
 At the time the messages were provided to investigators by the CS, CARBONE-Pallares' Instagram username was
"9.r.9.c". CARBONE-Pallares' Instagram profile was created in September 2015 and has l3 former usernames.
Users can alter their Instagram usernames whenever they want, as many time as they want.

a
    The messages were ffanslated from Spanish to English.

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               CS: Hey, was it your friend' thing that broke down yesterday?

               CARBONE-Pallares : Yeah

               CARBONE-Pallares: But he had done his job

               CARBONE-Pallares: Everything firm about him

               CARBONE-Pallares: It was the captain's mistake and what happened

                Audio message from CARBONE-Pallares: The captain. How do you know it
wasn't his, captain of the person you? He ignored the report he sent him. And they came out of
the Gulf, all bacano came out bacano. E ai. Over there, how they shut up, how to listen to him. I
mean, it wasn't my partner's fault.

               CS: there hp

               CARBONE-Pallares: Yes hand but hit another one before

               CS: That's why I always say the same thing, the captains always screw up

              Audio message from CARBONE-Pallares: Imagine if he fell, that's why. The
same thing happens as through work. Delighted. Practically the choir. CapitallCapitan is a
maneuver that I did not have to do there. That he has not said anything, my partner listened to
me and. Takata. It fell, but about four days ago half a meter two in a row.

       34.     Based upon my training and experience, I am aware that persons engaged in the

illegal distribution of narcotics use cellular telephones, specifically applications, in furtherance

of their drug-trafficking operations. According to the above-referenced circumstances, it is my

opinion there is probable cause to believe the subject account is being used by CARBONE-

Pallares in conspiring to commit, and directly committing, illegal narcotics distributions and the

contents and data stored in the account are evidence of the illegal narcotics distribution. It is my

fuither opinion that CARBONE-Pallares will continue to commit additional drug-related crimes

through the subject account. Therefore, your affiant believes that the communication occurring

over the subject account will not only significantly assist in gathering evidence in support of

prosecution against CARBONE-Pallares but will assist in identifuing additional DTO members.
                                                 11
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           INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

        35. I anticipate executing this warrant under the Electronic Communications Privacy
Act, in particular 18 U.S.C. $$ 2703(a),2703(b)(l)(A) and 2703(c)(1)(A), by using the warrant

to require Instagram to disclose to the United States copies of the records and other information

(including the content of communications) particularly described in Section I of Attachment B.

Upon receipt of the information described in Section I of Attachment B, United States-authorized

persons will review that information to locate the items described in Section II of Attachment B.

                                          CONCLUSION

        36.    Based on the forgoing, I request that the Court issue the proposed search warrant.

The United States will execute this warrant by serving the warrant on Instagram. Because the

warrant will be served on Instagram, who will then compile the requested records at a time

convenient to it, reasonable cause exists to permit the execution of the requested warrant at any

time in the day or night.

       37.     Pursuant to 18 U.S.C. $ 2703(g), the presence of a law enforcement officer is not

required for the service or execution of this warrant.

       38.     I further request that the Court order that all papers in support of this application,

including the affidavit and warrant, be sealed until further order of the Court. These documents

discuss an ongoing criminal investigation that is neither public nor known to all of the targets of

the investigation. Accordingly, there is good cause to seal these documents because their

premature disclosure may give targets an opportunity to flee/continue flight from prosecution,




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destroy or tamper with evidence, change patterns of behavior, notiff confederates, or otherwise

seriously j eopardize the investigation.




        I state under the penalty of perjury that the foregoing is true and correct.




                                                                                 r
                                                    Special Agent
                                                    Drug Enforcement Administration


Sworn to, attested to, and affirmed before me via reliable electronic means pursuant to
Federal Rules of Criminal Procedure 4.1 and 4l this28th   _ day of June, 2023.


RODNEY H. HOLMES
UNITED STATES MAGISTRATE ruDGE
EASTERN DISTRICT OF MISSOURI




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                                       ATTACHMENT A

                                     Property to Be Searched

       This warrant applies to information associated with the Instagram profile with username:

                                                   9.r.9.c

that is stored at premises owned, maintained, controlled, or operated by Instagram, LLC, a

company that is owned by Meta Platforms, lnc. and headquartered in Menlo Park, California.

                                     10:59                                       'tt sGEm'




                                                                     2,343
                                     ii,
                                                         14                      1,431
                                 {                     Posts      Followers Following


                                 Ruben Carbone.
                                 La Pantera Carbone
                                 @panteracarscol


                                                       Follow                            .A

                                             @
                                             Hll                           16r




                    i

                                          This account is private
                                         Follovr this account to see their photos
                                                       and videos.




                                     Aqoo@
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                                       ATTACHMENT B

                                  Particular Things to be Seized

I.     Information to be disclosed by Instagram, LLCllVIeta Platforms Inc.

       To the extent that the information described in Attachment A is within the possession,

custody, or control of Instagram, LLC, including any messages, records, files, logs, or

information that have been deleted but are still available to Instagram, LLC, or have been

preserved pursuant to a request made under 18 U.S.C. 5 2703(D,Instagram, LLC is required to

disclose the following information, from 0110112023 to 0612812023, to the government for each

account listed in Attachment A:

       a.     All identity and contact information, including fullname, e-mail address, physical
              address (including city, state, andnp code), date of birth, phone numbers, gender,
              hometown, occupation, and other personal identifiers;

       b.     All past and current usernames associated with the account;
       c      The dates and times at which the account and profile were created, and the
              Intemet Protocol ("IP") address at the time of sign-up;

       d.     All activity logs including IP logs and other documents showing the IP address,
              date, and time of each login to the account, as well as any other log file
              information;

       e      All information regarding the particular device or devices used to login to or
              access the account, including all device identifier information or cookie
              information, including all information about the particular device or devices used
              to access the account and the date and time of those accesses;

       f.     A11 data and information associated with the profile page, including photographs,
              "bios," and profile backgrounds and themes;

       t'o    A11 communications     or other messages sent or received by the account;

       h.     A11 user content created, uploaded, or shared by the account, including any
              comments made by the account on photographs or other;

       1.     All photographs and images in the user gallery for the account;
       j       A11 location data associated with the account, including geotags;

       k.      All data and information that has been deleted by the user;
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               A list of all of the people that the user follows on Instagram and all people who
               are following the user (1.e., the user's "following" list and "followers" list), as
               well as any friends of the user;

       m.      A list of all users that the account has "unfollowed" or blocked;
       n.      All privacy and account settings;
       o.      A11 records of searches performed by the account, including all past searches
               saved by the account;

       p.      All information about connections between the account and third-party websites
               and applications; and,

       q.      All records pertaining to communications between Instagram, LLC and any
               person regarding the user or the user's Instagram account, including contacts with
               support services, and all records of actions taken, including suspensions of the
               account.

       Instagram,LLC is hereby ordered to disclose the above information to the United
States within 14 days of the date of this warrant.

II.    Information to be seized by the government

       All information described above in Section I that constitutes fruits, evidence and
instrumentalities of violations of Title 21, United States Code, Sections 959(a), 960 and 963

and Title 46 United Stats code, Sections 70503(a) and 70506(b) involving Ruben Dario

CARBONE-Pallares from 01/0112023 to 0612212023, including, for each username identified

on Attachment A, information pertaining to the following matters:

            (a) Evidence regarding the procurement, storage and/or ultimate shipment of

               controlled substances including cocaine from Colombia through the use of GFVs

               to either the United States or through Central America and/or the money utilized

               for obtaining the controlled substance including cocaine and/or proceeds from the

               distribution of controlled substances including cocaine;

            (b) Evidence indicating how and when the Instagram account was accessed or used,

               to determine the chronological and geographic context of account access, use, and
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            events relating to the crime under investigation and to the lnstagram account

            owner;

         (c) Evidence indicating the Instagram account owner's state of mind as it relates to

            the crime under investigation;

         (d) The identity of the person(s) who created or used the user ID, including records

            that help reveal the whereabouts of such person(s).

         (e) The identity of the person(s) who communicated with the user ID about matters

            relating to violations of Title 21, United States Code, Sections 959(a), 960 and

            963 and Title 46, United States Code, Sections 70503 and 70506, including

            records that help reveal their whereabouts.




                                              3
